                                                                          FILED
                                                                              08/26/2024
                                                                         Bowen Greenwood
                                                                         CLERK OF THE SUPREME COURT

     IN THE SUPREME COURT OF THE STATE OF MONTANA
                                                                              STATE OF MONTANA

                                                                         Case Number: DA 23-0461



                             No. DA 23-0461

STATE OF MONTANA,

           Plaintiff and Appellee,
     v.

DONALD EDWARD FOSTER,

           Defendant and Appellant.


                                ORDER


     Upon consideration of Appellant’s motion for extension of time,

and good cause appearing,

     IT IS HEREBY ORDERED that Appellant is granted an extension

of time to and including September 27, 2024, within which to prepare,

file, and serve Appellant’s opening brief on appeal.




                                                              Electronically signed by:
                                                                    Mike McGrath
                                                       Chief Justice, Montana Supreme Court
                                                                   August 26 2024
